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 1                                                       THE HONORABLE JOHN H. CHUN

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 6                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 7                                             AT SEATTLE

 8
     FEDERAL TRADE COMMISSION, et al.,
 9                                                      CASE NO.: 2:23-cv-01495-JHC
                       Plaintiffs,
10                                                      JOINT STATUS REPORT
                  v.
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     AMAZON.COM, INC., a corporation,
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                       Defendant.
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 1          Pursuant to the February 13, 2024 Case Management Order (“CMO”), Plaintiffs Federal

 2 Trade Commission (“FTC”) and the states and territories of New York, Connecticut, New

 3 Hampshire, Oklahoma, Oregon, Pennsylvania, Delaware, Maine, Maryland, Massachusetts,

 4 Michigan, Minnesota, Nevada, New Jersey, New Mexico, Puerto Rico, Rhode Island, Vermont,

 5 and Wisconsin, by and through their respective Attorneys General (together, “Plaintiff States,”

 6 and collectively with the FTC, “Plaintiffs”) and Defendant Amazon.com, Inc. (“Amazon”)

 7 submit this joint status report in advance of the parties’ June 6, 2024, quarterly status conference

 8 with the Court.

 9          This JSR is organized as follows: the parties provide brief preliminary statements

10 beginning at page 3. Plaintiffs’ Report on the Status of Discovery begins at page 8. Amazon’s

11 Report on the Status of Discovery begins at page 18. The parties provide a list of pending

12 motions at page 28.

13 I.       PRELIMINARY STATEMENTS

14          A.     PLAINTIFFS’ PRELIMINARY STATEMENT

15          The parties are seven months into fact discovery, with approximately 14 months

16 remaining. Amazon has produced approximately 2,850 documents from its files, of which

17 approximately 2,200 are reproductions of documents produced in other cases. Assuming

18 Amazon meets its commitment to complete its reproduction of documents from other cases by

19 July 1, that process will have taken more than six months. Amazon has estimated that it will not

20 complete its productions of certain targeted “go-get” documents until February 2025, and has

21 only recently agreed to begin negotiations regarding custodians, sources of non-custodial

22 documents, and the methods it will use to search for documents responsive to Plaintiffs’

23 discovery requests. The FTC and Plaintiff States, on the other hand, have produced more than

24 326,300 documents, including documents from more than 110 third parties and responsive

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 1 documents identified after a search of approximately 200 custodians, and have substantially

 2 completed their production of non-privileged pre-Complaint communications with third parties

 3 related to Plaintiffs’ respective investigations.

 4          Plaintiffs are concerned about the limited progress Amazon has made in responding to

 5 discovery. Amazon has produced only a handful of documents to date, is maintaining unfounded

 6 relevance objections to many of Plaintiffs’ document requests (a sample of which are discussed

 7 below), and is continuing to object to an interrogatory seeking information about any

 8 procompetitive justifications Amazon contends are associated with the interrelated conduct

 9 challenged in the Amended Complaint. While Plaintiffs are hopeful that the parties can resolve

10 or at least narrow these issues, and that Amazon will begin to make more progress in document

11 and data production, Plaintiffs may need to seek relief from the Court.

12          Amazon repeatedly cites its production of approximately 1.7 million documents during

13 Plaintiffs’ pre-Complaint investigation to suggest that it is making good progress in discovery, or

14 that any further discovery should be limited. That is not the case. Amazon itself has argued that

15 the materials it produced during Plaintiffs’ investigation “go beyond the allegations in the

16 complaint and therefore are not all responsive to requests served in the litigation.” That is

17 because government investigations serve a different purpose than discovery in litigation, as

18 Plaintiffs explained in the parties’ initial Joint Status Report. See JSR at 29, Dkt. #135. The

19 purpose of an agency’s “pre-complaint . . . investigation is not to ‘prove’ its case but rather to

20 make an informed decision on whether or not to file a complaint.” United States v. GAF Corp.,

21 596 F.2d 10, 14 (2d Cir. 1979); see also Oklahoma Press Pub Co. v. Walling, 327 U.S. 186, 201

22 (1946) (agency investigations are intended to “discover and procure evidence, not to prove a

23 pending charge or complaint, but upon which to make one if, in the Administrator’s judgment,

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 1 the facts thus discovered should justify doing so.”). As a result, investigations often encompass

 2 topics that are not relevant to the case that is ultimately filed. On the other hand, discovery in

 3 litigation probes more deeply into topics that are relevant to the case.

 4          Moreover, major antitrust cases routinely involve far more documents than Amazon

 5 produced in Plaintiffs’ pre-Complaint investigation. In United States v. Google LLC, Google

 6 produced approximately three million documents in the pre-complaint investigation, and another

 7 three million documents during the litigation itself. See Google LLC’s Fifth Status Report

 8 Regarding Document Review and Production at 1, United States v. Google LLC, No. 23-cv-

 9 00108, Dkt. #485 (E.D. Va. Oct. 13, 2023). Notably, Google produced just under 2 million

10 documents in less than 30 days—proof that document production can move quickly when

11 ordered by a court. See Google LLC’s Fourth Status Report Regarding Document Review and

12 Production at 1, United States v. Google LLC, No. 23-cv-00108, Dkt. #478 (E.D. Va. Oct. 6,

13 2023). Other recent antitrust cases have likewise involved significant document discovery. See

14 Mem. in Support of Meta Platforms, Inc.’s Motion for Summary Judgment at 40, FTC v. Meta

15 Platforms, Inc., No. 20-cv-3590, Dkt. # 324-1 (Apr. 5, 2024) (more than 5.6 million documents);

16 Order Granting Preliminary Approval of Class Action Settlement at 3, Cameron, et al. v. Apple,

17 No. 19-cv-3074, Dkt. # 453 (Nov. 16, 2021) (more than 5 million documents); see also Order

18 Granting Complaint Counsel’s Motion to Compel at 3, Kroger, Dkt. No. 9428 (May 22, 2024)

19 (over 13.6 million documents produced during a pre-complaint investigation).

20          B.      AMAZON’S PRELIMINARY STATEMENT

21          Discovery is proceeding in an efficient manner for a case of this size. Plaintiffs served a

22 large number of discovery requests on Amazon, including 349 Requests for Production.

23 Amazon has engaged in good faith in 26 meet and confer sessions with Plaintiffs. Those meet

24 and confer sessions have generally proceeded on agendas requested by Plaintiffs that covered

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 1 only a limited number of Plaintiffs’ requests and required substantive follow up from either or

 2 both sides. To date, more than 150 of the requests have not even been discussed in these meet

 3 and confer sessions. Amazon has begun making productions, and it has committed to dates for

 4 substantial completion of agreed future productions. It has already produced 70,000 pages of

 5 documents responsive to Plaintiffs’ first set of requests, which sought a targeted collection of

 6 certain types of documents.1 Amazon has already made productions from the discovery record

 7 in the earlier-filed, related California v. Amazon action (in which document discovery has been

 8 ongoing during the past six months), and expects to produce the remaining documents by July 1.

 9 Like Plaintiffs have done with third party productions they received during the investigation,

10 Amazon has been working to provide notice to third parties whose information may be contained

11 in the California materials, as required by that action’s Protective Order. Amazon anticipates

12 that the majority of targeted document collections it has agreed to produce in response to

13 Plaintiffs’ Second and Third Sets of Requests for Production will be complete in the next four

14 months; some voluminous data requests may take longer. Amazon has also agreed that the 1.7

15 million documents (10 million pages) and 100 terabytes of data produced in the pre-complaint

16 FTC investigation can be part of the record in this case—which is significant because the time

17 period and subject matters covered by that investigation overlaps with the time period of

18 Plaintiffs’ discovery requests.

19          Plaintiffs present a lengthy description of the positions they have taken in the meet and

20 confer process, but they do not present any disputes for the Court’s resolution, presumably

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     1
     Plaintiffs criticize the volume of new Amazon documents produced to date in response to those
22
   initial requests, while also arguing that those requests were targeted. The fact is that Plaintiffs’
   first set of requests called for specific documents rather than large volumes of documents and
23
   data. Those requests still imposed a burden on Amazon to search for, review, and produce
   responsive documents.
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 1 because they recognize their voluminous and wide-ranging requests require meaningful

 2 conferral. It should be no surprise to Plaintiffs that understanding their Requests for Production,

 3 investigating whether documents and data exist and where, collecting documents and preparing

 4 them for production, and addressing third party needs takes time and effort. Indeed, Plaintiffs

 5 themselves needed six months to reproduce third party documents and what they claim are their

 6 own investigative files—all of which were or should have been collected prior to filing this

 7 lawsuit.

 8          There is no question that the record in this case will be large, and the fact discovery

 9 period accounts for effort that will be needed to complete productions. Amazon expects that the

10 parties can continue working cooperatively to ensure the record is developed in a way that

11 accounts for the fact that gathering, reviewing, and producing voluminous documents and data

12 takes time and effort.

13 II.      STATUS OF LITIGATION

14          Plaintiffs filed the Complaint on September 26, 2023, Dkt. #1, and filed an Amended

15 Complaint adding Puerto Rico and Vermont as Plaintiffs on March 14, 2024, Dkt. #170. Amazon

16 filed a motion to dismiss the Complaint on December 8, 2023, Dkt. #127, which the parties

17 agreed and the Court ordered would be deemed to be Amazon’s motion to dismiss the Amended

18 Complaint, Dkt. #175. That motion has been fully briefed. See Dkt. #178.

19          On February 13, 2024, the Court issued a Case Scheduling Order, Dkt. #159, that

20 included the following key dates:

21          August 8, 2025                 Close of Fact Discovery

22          February 23, 2026              Close of Expert Discovery

23          April 6, 2026                  Deadline to File Dispositive and Daubert Motions
                                           (with motions noted for June 15, 2026)
24

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 1          September 28, 2026            Final Pretrial Conference

 2          October 13, 2026              Bench Trial

 3          As of this filing, the parties have been engaged in fact discovery for approximately seven

 4 months. Approximately 14 months remain before the scheduled close of fact discovery.

 5 III.     PLAINTIFFS’ REPORT ON THE STATUS OF DISCOVERY

 6          A.     AMAZON’S DISCOVERY RESPONSES AND PRODUCTIONS

 7          Plaintiffs served their First Set of Requests for Production of Documents on November

 8 14, 2023, and Amazon served its Responses and Objections on December 14, 2023. Plaintiffs

 9 served their Second and Third Sets of Requests for Production of Documents on February 1,

10 2024, and Amazon served its Responses and Objections on March 25, 2024, pursuant to an

11 extension of time agreed to by the parties.

12          Plaintiffs have significant concerns about the pace of Amazon’s document and data

13 productions to date. Although Plaintiffs served requests seeking the reproduction of documents

14 from the California Action and Related Cases in November 2023, Amazon has not yet
                                               2
15 completed its production of those documents. These are documents Amazon has already

16 produced in other matters and could have reproduced here at the push of a button—rather than

17 piecemeal, over the course of more than six months. Amazon has also set unreasonably extended

18 timelines for its production of narrow, targeted collections of certain documents responsive to

19 Plaintiffs’ Requests for Production. Amazon estimates that it will not complete most of those

20 document productions until December, and that it will not complete the last of them until

21
     2
     As noted above, Amazon has produced approximately 2,850 documents from its files. Amazon
22 has also produced documents from a small number of third parties that were previously produced
   in the California Action. Amazon has represented that it will soon begin reproductions of
23 custodial documents originally produced in the California Action and that it will substantially
   complete its reproduction of the materials produced to date in the California Action and Related
24 Cases by July 1.

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 1 February 2025—a full year after Plaintiffs served their requests. Those timelines are

 2 unreasonable for narrow, targeted document collections, and Plaintiffs are further concerned

 3 about what these timelines mean for Amazon’s broader productions of documents based on

 4 searches of both non-custodial and custodial sources, which will make up the majority of

 5 Amazon’s document productions in this case. And Amazon has not provided any substantive

 6 response to nineteen data-related requests whose responses were due in March, stating for each

 7 that it was “continuing to investigate whether relevant, non-privileged materials responsive to

 8 this Request exist in the ordinary course, can be collected and produced without undue burden,

 9 and can be located after a reasonable search,” and that Amazon would “supplement its response

10 once it has more information.” Plaintiffs have yet to receive any substantive update on whether

11 Amazon has located responsive data or in what form that data exists and will be produced.3

12          Plaintiffs are also concerned that Amazon is maintaining a number of unfounded

13 relevance objections that would unduly limit the scope of discovery and limit Plaintiffs’ ability to

14 fully develop the factual record. For example, Amazon is maintaining relevance objections to

15 several categories of document requests on the grounds that they seek information about Amazon

16 programs and policies that are not specifically named in the Amended Complaint. That is not the

17 standard for relevance in discovery. While the parties are continuing to meet and confer,

18 Plaintiffs provide a sample of those disputes for the Court’s awareness:

19          Documents Amazon Produced in the California Action. As part of their initial document

20 requests in November 2023, Plaintiffs requested that Amazon produce materials from the

21 California Action and Related Cases. Because this case and the California Action overlap,

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23   3
       Plaintiffs’ position is that Amazon has waived any objections it has not yet asserted to these
     requests.
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 1 Plaintiffs viewed these requests as a way to jump-start discovery in this action with no burden to

 2 Amazon. Amazon has unfortunately chosen to frustrate that approach.

 3          In addition to the slow pace of production, Amazon is withholding California documents

 4 based on two unjustified relevance objections. First, Amazon refuses to produce documents

 5 relating to Amazon’s Minimum Margin Agreements with vendors, the Amazon Seller Code of

 6 Conduct, and the Amazon Marketplace Fair Pricing Policy, on the grounds that those documents

 7 are not relevant to this case. Amazon has also identified six additional categories of documents it

 8 is withholding on relevance grounds, and has indicated that it may later carve out further

 9 categories of documents from what it has agreed to reproduce from the California Action.

10 Amazon’s carve-out extends to structured data, where Amazon has refused to produce certain

11 data relating to Amazon’s agreements with its vendors. Plaintiffs disagree with Amazon’s

12 position that these categories of documents are irrelevant: they inform how Amazon sets prices

13 as a retailer and govern how third-party sellers must set prices on Amazon’s marketplace. Both

14 are part of the course of conduct Plaintiffs are challenging. Documents relating to these topics

15 also illustrate Amazon’s power over sellers, which is relevant to Plaintiffs’ allegations that

16 Amazon has monopoly power in the relevant markets. And there is no burden associated with the

17 production of these documents, given that they have already been produced in another case—to

18 the contrary, Amazon is inflicting on itself the burden of separating out some documents from

19 what it has already produced in the California Action, and unnecessarily slowing the pace of

20 document discovery in this case.

21          Second, Amazon also refuses to produce discovery correspondence from the California

22 Action and Related Cases. Plaintiffs have explained that this discovery correspondence is

23 important to understand what Amazon has produced in other cases, because parties often come to

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 1 agreements or provide context regarding the scope of their document and data productions

 2 through correspondence. The production of this correspondence (which Plaintiffs understand

 3 Amazon consistently designates as Protective Order material) would at least reduce the need for

 4 the parties to engage in repeated back-and-forth questioning about the scope of Amazon’s

 5 document and data reproductions from the California Action and Related Cases, might let

 6 Plaintiffs streamline some discovery, and would facilitate coordination between the various

 7 cases. Amazon’s objection is frankly hard to understand given that the documents in question

 8 obviously exist, are non-privileged, and can readily be collected and produced.

 9          Personnel Reviews. Amazon refuses to produce personnel reviews, evaluations, and

10 promotion materials concerning individuals with responsibilities relating to the conduct

11 described in the Amended Complaint, claiming that they are not relevant. These materials are

12 plainly relevant to this case, and Amazon has confirmed they are stored in a central repository.

13 Amazon’s personnel reviews are relevant to the merits of the case and to streamlining upcoming

14 custodian negotiations. On the merits, these reviews often identify relevant company goals (for

15 example, regarding Amazon’s pricing strategies at issue in this case), a specific employee’s acts

16 to further those goals, and Amazon’s progress in achieving those goals, with significant

17 discussion of the relevant markets and Amazon’s conduct in them. For the parties’ upcoming

18 negotiations regarding document custodians, a detailed description of relevant employees’

19 responsibilities would be highly informative.

20          First-Party Pricing Strategies. Plaintiffs have served discovery requests seeking

21 documents related to how Amazon sets prices for its Retail offers and Amazon’s Retail pricing

22 rules, algorithms, and methods. Amazon refuses to produce documents related to any first-party

23 pricing strategies other than its first-party anti-discounting program, see Am. Compl. ¶¶ 327-39,

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 1 Dkt. #170, which Amazon describes as its “competitive price-matching strategy,” on the grounds

 2 that Plaintiffs are not directly challenging other first-party pricing strategies. However, the

 3 proper scope of discovery is not limited to the specific acts and programs pleaded in the

 4 Amended Complaint. To the extent Amazon has additional pricing strategies that are similar or

 5 related to the anti-discounting program alleged in the Amended Complaint, those pricing

 6 strategies may be relevant to understanding Amazon’s overall course of anticompetitive and

 7 exclusionary conduct. At minimum, documents related to other first-party pricing strategies are

 8 relevant to fully understanding the context for Amazon’s first-party anti-discounting program,

 9 less restrictive alternatives to Amazon’s conduct, and potential remedies.

10          Supply Chain by Amazon. Supply Chain by Amazon is a “fully automated set of supply

11 chain services,”4 launched late last year, that includes warehousing, fulfillment, and distribution

12 services. It integrates directly with Amazon’s Fulfillment by Amazon (FBA) and Multichannel

13 Fulfillment (MCF) programs for sellers and appears to encompass both programs. Amazon does

14 not dispute that both FBA and MCF are centrally relevant to Plaintiffs’ fulfillment-related claims

15 but nonetheless refuses to produce documents relating to Supply Chain by Amazon. Amazon

16 argues that those documents are irrelevant because Supply Chain by Amazon is not discussed by

17 name in Plaintiffs’ Amended Complaint. Even leaving aside Amazon’s incorrect and unfounded

18 position regarding the proper scope of discovery, Plaintiffs have explained that documents

19 relating to Supply Chain by Amazon are relevant to understand the structure, operations, and

20 pricing of Amazon’s core FBA fulfillment service and MCF. Such documents are also relevant

21 to understand Amazon’s efforts to further entrench its FBA service and thereby deprive rival

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23   4
      See Supply Chain by Amazon, https://sell.amazon.com/programs/supply-chain (last visited
     June 1, 2024).
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 1 online marketplace service providers and superstores the ability to gain the scale needed to

 2 compete meaningfully with Amazon, conduct that is central to Plaintiffs’ fulfillment allegations.5

 3 See Am. Compl. ¶¶ 353, 366-96, Dkt. #170.

 4          Buy with Prime. Buy with Prime is a program that allows Amazon sellers to “display the

 5 Prime logo and delivery promise on [their] own website,”6 using Amazon’s checkout process and

 6 fulfillment infrastructure. Like Supply Chain by Amazon, Buy with Prime integrates directly

 7 with Amazon’s fulfillment programs FBA and MCF,7 and is therefore relevant to understanding

 8 the structure and operation of those programs and the ways that Amazon’s services may limit

 9 sellers from seeking out other fulfillment providers, which in turn deprives independent

10 fulfillment providers of an important source of business and scale needed to build out an efficient

11 fulfillment network. Documents relating to Buy with Prime are also relevant to understanding

12 Amazon’s claims about customer expectations associated with the Prime badge, given that the

13 program allows sellers to display the Prime badge outside of the Amazon ecosystem. Yet, as

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15   5
       Amazon has suggested that fulfillment services encompass virtually all aspects of the supply
16   chain, from warehousing through delivery to the final customer. See, e.g., Mot. to Dismiss at 3,
     Dkt. #127 (pointing to delivery providers such as UPS, FedEx and the Postal Service in arguing
17   that Amazon has not foreclosed rivals who provide fulfillment services); Amazon’s Responses
     and Objections to Plaintiffs’ Second Set of Requests for Production at 8 (defining “Third-Party
18   Logistics Provider” as “any entity other than Amazon that provides services relating to any and
     all steps involved in (a) transporting and/or facilitating the transportation of products from the
19   point of origin to delivery to a customer, including any intermediary points along the way; and
     (b) addressing any issues with a product that arise after delivery to a customer.”). Amazon’s
20   refusal to produce documents related to Supply Chain by Amazon is plainly inconsistent with its
     own position regarding the scope of fulfillment services.
21   6
      See Buy with Prime, https://sell.amazon.com/programs/buy-with-prime (last visited June 1,
     2024).
22   7
    See Supply Chain by Amazon, https://sell.amazon.com/programs/supply-
   chain?ref_=sdus_bwp_sba (“If a customer places an order on your own website through Buy
23
   with Prime . . . we’ll deliver through Multi-Channel Fulfillment (MCF).”) (last visited June 1,
   2024).
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 1 with Supply Chain by Amazon, Amazon categorically refuses to produce documents relating to

 2 this program.8

 3          Date Range. Plaintiffs have proposed that, as a default, Amazon should produce

 4 documents from January 1, 2014 through the date of collection from each custodian or non-

 5 custodial source, provided that date is after March 25, 2024 (when Amazon served responses and

 6 objections to Plaintiffs’ Second and Third Sets of Requests for Production of Documents). The

 7 parties can then address specific requests that involve different timeframes on a case-by-case

 8 basis, without separately negotiating a date range for each and every document request.

 9          A default timeframe for document discovery going back to 2014 is necessary and

10 appropriate given that much of the Amazon conduct at issue in this case began in or around

11 2014. Post-Complaint discovery is warranted given the ongoing nature of Amazon’s conduct and

12 changes to Amazon’s conduct after the filing of the Complaint. Plaintiffs’ proposal to use the

13 date when documents are collected as a default end date for document production reasonably

14 balances Plaintiffs’ need for post-Complaint discovery against the burden associated with

15 multiple document collections.

16          Amazon’s current position is that, as a default, it will produce documents for the time

17 period from January 1, 2018 through the filing of the Complaint on September 26, 2023.

18 Amazon has proposed to have further date range discussions “in the context of Request-by-

19 Request negotiations, or, when the parties begin to discuss relevant custodians, custodian-by-

20

21
     8
    Amazon notes that it has agreed to produce documents relating to Supply Chain by Amazon
22
   and Buy with Prime to the extent those documents are responsive to other document requests and
   are captured by Amazon’s search methodology. But this concession means little because
23
   Amazon already has an obligation to produce those documents, regardless of Plaintiffs’
   discovery requests seeking documents related to Supply Chain by Amazon and Buy with Prime.
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 1 custodian.” Plaintiffs do not that believe that approach is warranted or efficient but will continue

 2 to meet and confer with Amazon.

 3          Procompetitive Justifications. Finally, Plaintiffs are concerned by Amazon’s continued

 4 resistance to answering an interrogatory seeking information about any procompetitive

 5 justifications Amazon contends are associated with the interrelated conduct challenged in the

 6 Amended Complaint. Plaintiffs need information regarding any procompetitive justifications in

 7 order to seek and obtain timely discovery regarding those justifications throughout document

 8 discovery and depositions. If Amazon unduly delays identification of its claimed procompetitive

 9 justifications, that will likely limit Plaintiffs’ ability to obtain relevant information regarding

10 those justifications within the existing case schedule.

11          Amazon’s procompetitive justifications for its challenged conduct (if any) are a key

12 aspect of this case under the rule of reason analysis. Epic Games, Inc. v. Apple, Inc., 67 F.4th

13 946, 985-86 (9th Cir. 2023). If Plaintiffs show that Amazon’s conduct is likely anticompetitive,

14 then “the burden shifts back to [Amazon] to ‘show a procompetitive rationale for the restraint.’”

15 Id. (quoting NCAA v. Alston, 594 U.S. 69, 96 (2021)). After any such showing has been made,

16 the burden shifts back to Plaintiffs to show that such “procompetitive efficiencies could be

17 reasonably achieved through less anticompetitive means.” Id. at 990 (quoting Alston, 594 U.S. at

18 990). If less restrictive alternative means are not established, the court must “balance the

19 [conduct’s] anticompetitive harms against its procompetitive benefits.” Id. at 994; see also

20 United States v. Microsoft Corp., 253 F.3d 34, 58-59 (D.C. Cir. 2001).

21          Amazon has repeatedly claimed that the conduct Plaintiffs are challenging is

22 procompetitive, including in its motion to dismiss. See Motion to Dismiss at 1, Dkt. #127

23 (“Those practices – the targets of this antitrust Complaint – benefit consumers and are the

24

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 1 essence of competition.”). Accordingly, Plaintiffs served an interrogatory seeking an

 2 identification and description of those procompetitive justifications, including any alternatives

 3 considered and an explanation as to why those alternatives were not sufficient.

 4          Amazon maintains two primary objections to the interrogatory. First, Amazon argues that

 5 it does not need to need to answer this interrogatory until the close of discovery, which would

 6 severely prejudice Plaintiffs’ ability to conduct discovery into Amazon’s alleged procompetitive

 7 justifications. Second, Amazon claims that the interrogatory “includes at least but more likely

 8 more than 108 discrete subparts” because the interrogatory points to paragraphs in the Complaint

 9 describing the challenged course of conduct. Both of those objections are unfounded. There is no

10 reason Amazon cannot answer the interrogatory now, and doing so is necessary for the efficient

11 progress of discovery in this case. And Plaintiffs have asked only a single question: what are

12 Amazon’s procompetitive justifications, if any, for the challenged course of conduct? See, e.g.,

13 Minnis v. Washington, No. C11-5600, 2013 WL 1964832, at *2 (W.D. Wash. May 10, 2013)

14 (quoting Trevino v. ACB American, Inc., 232 F.R.D. 612, 614 (N.D. Cal. 2006)) (“Courts

15 generally agree that interrogatory subparts are to be counted as one interrogatory . . . if they are

16 logically or factually subsumed within and necessarily related to the primary question.”).

17          Amazon’s most recent position on this interrogatory is unreasonable and incomplete.

18 Amazon “maintain[ed] its position that a response to this interrogatory should follow the end of

19 substantial discovery,” which would largely defeat the point of the interrogatory, and was vague

20 about how this interrogatory should be counted for purposes of the 40-interrogatory limit. See

21 CMO ¶ 4(a), Dkt. # 161.

22          B.      PLAINTIFFS’ DISCOVERY RESPONSES AND PRODUCTIONS

23          Amazon served its First Set of Requests for Production on November 14, 2023, and

24 Plaintiffs served their respective Responses and Objections on December 14, 2023. After several

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 1 discussions between the parties, Plaintiffs agreed to conduct a reasonable search of documents

 2 within their possession, custody, or control for responsive, non-privileged pre-Complaint

 3 documents from and communications with third parties related to Plaintiffs’ respective

 4 investigations, and to substantially complete production of materials from their respective

 5 investigations by May 27, 2024. After the Protective Order was entered on February 13, 2024,

 6 and third parties had the opportunity to object to the production of and apply confidentiality

 7 designations to their materials under the Protective Order, Plaintiffs prioritized providing

 8 Amazon with the largest third-party productions on a rolling basis. Beginning on March 27 and

 9 continuing through May 24, Plaintiffs made rolling productions containing over 326,300

10 documents associated with more than 110 third parties. Plaintiffs also searched the files of

11 approximately 200 custodians and non-custodial sources, and produced responsive documents.

12 Plaintiffs substantially completed their agreed-upon productions of documents on May 24, 2024.

13          C.     THIRD PARTY DISCOVERY

14          Plaintiffs have served 15 document subpoenas to online retailers, marketplaces, and third-

15 party logistics providers, and will continue to issue additional subpoenas on a rolling basis.

16 Plaintiffs are also conferring with third party subpoena recipients regarding the scope of their

17 responses to Plaintiffs’ requests.

18          Plaintiffs have issued deposition subpoenas to two third parties and are coordinating

19 those depositions with the California Action. Plaintiffs are discussing other potential

20 coordinated depositions with California and plaintiffs in certain Related Cases.

21          The parties have agreed to regular exchanges of information about subpoenas to third

22 parties and third parties’ responses and objections. The parties have also agreed to hold joint

23 meet and confers when requested by third parties in order to minimize the burden of discovery

24 for third parties.

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 1          D.     COORDINATION ISSUES

 2          The parties are continuing to discuss a draft protocol for the coordination of depositions

 3 between this case, the California Action, and certain Related Cases in discovery. Only a limited

 4 number of issues remain in dispute, and the parties are meeting and conferring further. Plaintiffs

 5 anticipate that parties will have an agreement or a dispute for the Court’s consideration soon.

 6          While this issue is not yet ripe for the Court, Plaintiffs believe it is necessary to respond

 7 to one issue raised by Amazon below: Amazon’s suggestion that the entry of a protocol that

 8 differs from the coordination order entered by the California court would hinder coordination

 9 ignores a provision in the California coordination order expressly providing that if “any order” is

10 entered in this case “permitting higher time limits for any Coordinated Depositions, such higher

11 time limits shall apply” in the California Action. (Ex. A, ¶ 20.)

12 IV.      AMAZON’S REPORT ON THE STATUS OF DISCOVERY

13          Plaintiffs’ concerns about the pace of discovery are not well-founded given the scope of

14 documents, data, and other information produced to Plaintiffs to date; the breadth and volume of

15 material sought by their 349 Requests for Production and Interrogatories; the guidance Amazon

16 has provided with respect to timing of its productions responsive to those requests; and the

17 parties’ many conferrals. As discussed in more detail below, millions of documents and 100

18 terabytes of data produced by Amazon in the pre-complaint investigations have been deemed

19 produced here. Plaintiffs also have access to the testimony of 46 Amazon witnesses taken in pre-

20 complaint investigations. Plaintiffs served 349 Requests for Production (not counting subparts)

21 on Amazon touching nearly every aspect of the retail business, including subject matters and

22 time periods for which Amazon previously made voluminous productions. Amazon has begun

23 producing documents responsive to Plaintiffs’ requests and, as stated in the December status

24 report, anticipates substantially completing production on Plaintiffs’ First Set of Requests for

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 1 Production (30 requests) by July 1. The parties have been conferring on the remaining 319

 2 Requests served by Plaintiffs for the past eight weeks, on a cadence requested by Plaintiffs;

 3 because of the sheer volume of requests, there are still more than 150 requests on which

 4 Plaintiffs have not yet requested a meet and confer.9

 5          Meanwhile, it has taken Plaintiffs six months to produce the primary category of

 6 documents that they have agreed to produce, namely, portions of their pre-complaint

 7 investigative file that includes materials received from third parties. Plaintiffs made productions

 8 on May 24, 2024 that they state substantially complete their agreed productions. Plaintiffs

 9 produced 24,000 pages on May 24, and Amazon’s review of these productions is ongoing.

10           With respect to the status of discovery, Amazon states as follows:

11          A.       AMAZON’S STATEMENT REGARDING ITS RESPONSIVE
                     DISCOVERY
12
                     1.     Plaintiffs Served Voluminous and Expansive Discovery Requests on
13                          Amazon
            Since November 14, 2023, Plaintiffs have served 349 Requests for Production and one
14
     set of Interrogatories. Amazon has served responses and objections to all of Plaintiffs’ discovery
15
     requests and has begun producing documents. Specifically:
16
                    On November 14, 2023, Plaintiffs served their first set of 30 Requests for
17                   Production. Amazon served its Responses and Objections on December 14, 2023.
18                  On November 14, 2023, Plaintiffs also served their first set of Interrogatories.

19   9
       Plaintiffs principally use this status report to set forth for the Court the positions they have
     taken in the ongoing meet and confers. Amazon does not believe that the purpose of this status
20
     report is to go through a point-by-point discussion of these (incomplete and misleading)
     litigation positions, which Plaintiffs do not identify as disputed issues. By way of example, it is
21
     not true that Amazon has “categorically” refused to produce documents related to two programs
     not mentioned in the Complaint, Supply Chain by Amazon and Buy with Prime; to the contrary,
22
     even though those programs are not mentioned in the Complaint, Amazon has said it will
     produce documents about those programs to the extent they are discussed in the extensive
23
     custodial document production Amazon expects to make about the programs actually alleged in
     the Complaint. Plaintiffs have issued more than 100 requests related to fulfillment issues alone.
24

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 1
                    Amazon served its Responses and Objections on December 14, 2023.
 2                 On February 1, 2024, Plaintiffs served their second and third sets of Requests for
 3                  Production, consisting of 319 total requests. Many of these RFPs include multiple

 4                  subparts and at least 49 of these RFPs request voluminous amounts of data.

                    Amazon served its Responses and Objections to these requests on March 25,
 5
                    2024.
 6
            During the FTC’s nearly four-year pre-complaint investigation, Amazon produced more
 7
     than 1.7 million documents, consisting of nearly 10 million pages, and 100 terabytes of data—all
 8
     of which Amazon has agreed to deem produced in this case. Plaintiffs took pre-suit testimony of
 9 29 Amazon witnesses that Amazon made available. Plaintiffs also have access to the records

10 produced by Amazon in the California Attorney General’s investigation, including transcripts of

11 28 additional investigative hearings of Amazon witnesses, which included transcripts 17 non-
     overlapping witnesses, and 88 terabytes of data of the type that they seek here (e.g., offers and
12
     transaction data). The subjects and the time period of the pre-complaint discovery overlaps with
13
     those of Plaintiffs’ discovery requests in this case.
14
             Given the records from these lengthy pre-suit investigations, it would have been
15   entirely reasonable for Plaintiffs to serve tailored Requests for Production aimed primarily at
16   updating prior information. Instead, Plaintiffs issued 349 Requests for Production for

17   documents encompassing nearly all aspects of Amazon’s retail business for a period going

18   back over a decade (with some specific periods going back well beyond ten years).10 Over 250

     of those Requests seek “all documents” on a particular topic, and many have several sub-parts.
19
     The data requests—styled as 49 requests but constituting over 400 distinct data requests—
20
     contemplate hundreds of terabytes of data. As Amazon has explained to Plaintiffs, the
21
     10
     Plaintiffs have demanded that all requests cover the time period back to 2014. Amazon
22
   believes that the appropriate time period is dependent on the subject of the request, and it has
   agreed in some cases to produce documents for earlier time periods as requested by Plaintiffs.
23
   The issue of the appropriate time period for the requests is best suited to meet and confer
   discussions.
24

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 1
     diligence required to understand the Requests and how they connect to the allegations made in
 2   Plaintiffs’ Complaint, research what documents or data might exist and where, and scope the
 3   potential burden of collection and production has been an incredibly arduous process,

 4   particularly when the information Plaintiffs seek is not maintained in the form Plaintiffs

     imagine. Plaintiffs also incorrectly contend that Amazon has not substantively responded to 19
 5
     of the data RFPs. For these 19 requests, Amazon asserted specific objections and otherwise
 6
     agreed to produce data, once it identifies what data exists and in what form, and has been
 7
     regularly updating the Plaintiffs on its efforts and cooperating in good faith. Although
 8
     Plaintiffs’ Requests identified no particular priorities, Amazon also endeavored to provide
 9   guidance to Plaintiffs as to when targeted productions would begin and end so that Plaintiffs

10   could plan and manage their workflow efficiently.

11          Plaintiffs have also served an interrogatory on Amazon that, although styled as a single

     interrogatory, demands that Amazon describe and identify justifications, alternative means for
12
     achieving justifications, and explanations as to alternative means not chosen, for different
13
     types of conduct alleged in 185 different paragraphs of Plaintiffs’ Complaint. Amazon
14
     submits that this interrogatory is an improper attempt to evade the 40-interrogatory limit set by
15   the Court. If Amazon were to answer this interrogatory as drafted, the effort involved would
16   be immense, as Amazon would need to undertake a separate investigation and prepare a

17   response to answer multi-part questions for any instance of discrete conduct identified in the

18   185 Complaint paragraphs. Despite its objections, Amazon has met and conferred with

     Plaintiffs on this topic and made a proposal on May 10, 2024, to which Plaintiffs have not yet
19
     responded with any specificity.11
20                2.      Amazon Has Engaged in Good Faith Meet and Confer Efforts For
                          Months and Has Been Producing Documents Simultaneously.
21

22
     11
       Based on a statement in the Joint Status Report, Plaintiffs appear to view Amazon’s proposal
23
     as “vague.” They have not asked any questions about it in responsive correspondence or
     requested a follow up conferral.
24

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 1          Amazon has consistently engaged in good faith discussions with Plaintiffs on their

 2 discovery requests. Since January 5, 2024, Amazon has participated in over 26 meet and confer

 3 sessions concerning Amazon’s responses. Over 15 of these conferrals have occurred in the last 8

 4 weeks. Plaintiffs have conducted the meet and confers by seeking to discuss each individual

 5 request, and most of those discussions have required follow up from either or both sides. In this

 6 process, Amazon and Plaintiffs have discussed more than 165 of the Requests and Plaintiffs’

 7 First Set of Interrogatories, but more than 150 requests have not yet been the subject of any meet

 8 and confer. In data-related meet and confers, Plaintiffs have acknowledged that the investigation

 9 of decentralized data sources for their voluminous requests takes time, and Amazon has provided

10 updates about its progress and findings as it diligently investigates Plaintiffs’ Requests.

11          Concurrently with these conferrals, Amazon has begun producing additional documents

12 to Plaintiffs on a rolling basis. Amazon has produced over 70,000 pages responsive to these first

13 requests, including targeted collections, reproductions of third-party productions, and documents

14 produced in the private actions. Amazon has also agreed that the more than 1.7 million

15 documents produced by Amazon during Plaintiffs’ pre-complaint investigation can be deemed

16 produced in this litigation. Plaintiffs’ focus on the volume of new material produced from

17 Amazon’s files in the context of the First Set of Requests does not make sense. The volume of

18 that production is largely a function of the targeted sets of documents that were sought by

19 Plaintiffs’ First Set of Requests. Plaintiffs’ Second and Third Sets of Requests, served nearly

20 three months later, are far broader in scope and production efforts and discussions are ongoing.

21          With respect to Plaintiffs’ First Set of 30 Requests for Production, Amazon still expects

22 to complete substantial production of an agreed collection of documents by July 1, 2024, as it

23 advised the Court in the initial December 15, 2023 JSR. Dkt. 135 at 21. This includes

24

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 1 reproduction of materials produced to date in the California action, in which discovery is

 2 proceeding simultaneously.

 3          With respect to Plaintiffs’ Second and Third Sets of Requests for Production (319

 4 requests), the parties are engaged in discussions concerning the process for identifying relevant

 5 documents and, in particular, for producing relevant electronic documents and data. Responding

 6 to these Requests has been and will be a lengthy and labor-intensive effort on Amazon’s part.

 7 Amazon is able to respond to only a minority of these requests by collecting identified (albeit

 8 voluminous) documents and data sources stored in a variety of different places within the

 9 company and dating back years. Amazon has agreed to make rolling productions of those

10 materials starting no later than June 15, July 15, August 15, and September 15, 2024, depending

11 on the request. Amazon has also agreed to make these rolling productions earlier if they are

12 available earlier. Amazon has also explained that the amount of time and effort involved in

13 preparing targeted productions cannot simply be wished away. Amazon has indicated an end

14 date of December 15, 2024 for those rolling productions, but it expects that the majority of these

15 productions will be complete on the anticipated start dates that correspond to the specific

16 requests. For only certain data (not document) requests has Amazon estimated an ending

17 production date of February 2025 due to the breadth of data that Plaintiffs seek.

18          For the remaining Requests (which constitute the majority of them), e-discovery search

19 methods will be needed to respond. The parties are engaged in discussions concerning the

20 specifics of how these documents will be identified and produced, including the identification of

21 appropriate document custodians and the types of search methods to be used to locate responsive

22 documents of those custodians. Amazon expects that the number of documents that will be

23 collected through these efforts will be in the millions. Amazon also expects that this effort will

24

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 1 require the use of technology-assisted review (“TAR”) techniques, which involves time and

 2 complexity. Plaintiffs want to negotiate what those TAR techniques will be and how they will

 3 be used, such as what search terms will be used. After agreement is reached, Amazon will need

 4 to “train” the artificial intelligence used in TAR, through iterative searches, to locate potentially

 5 relevant documents from terabytes of data. It is customary for the parties to have ongoing

 6 discussions about adjustments that may be needed to the TAR process. As part of the TAR

 7 process, Amazon will still need to review the identified documents for privilege and

 8 responsiveness prior to production.12

 9                  3.     Discovery Should be Allowed to Proceed.

10           Plaintiffs’ section of the JSR sets forth many complaints about the status and pace of

11 discovery, but they identify no ripe disputes requiring a Court ruling. The status of discovery, as

12 discussed above, is simply this: Plaintiffs have served extraordinarily broad and burdensome

13 discovery requests on Amazon; Amazon has begun producing documents but is not finished;

14 Amazon has participated in more than two dozen meet and confer sessions, which have not even

15 covered all of the requests; and it will take considerable time and effort for Amazon to respond

16 to the requests. If and when an actual discovery dispute arises, either side may properly raise it

17 with the Court in accordance with the Local Rules. No Court intervention is needed at this time

18 on the discovery topics identified in Plaintiffs’ report.

19

20
     12
     Plaintiffs also suggest that Amazon “only recently agreed” to begin negotiations regarding
21
   custodians and data sources. That presentation is misleading. In mid-May, Plaintiffs requested
   that the parties agree to a date certain to exchange this information (and other information).
22
   Plaintiffs had not previously made this request. Amazon has already provided the other
   information requested, and the parties had what Amazon believed to be a productive call about
23
   the process going forward.
24

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 1          B.      PLAINTIFFS’ RESPONSES TO AMAZON’S REQUESTS FOR
                    PRODUCTION
 2
            On November 14, 2023, Amazon served its First Set of Requests for Production to each
 3
     Plaintiff, and Plaintiffs served Responses and Objections on December 14, 2024. These requests
 4
     called for, among other subjects, the documents subject to production from Plaintiffs’ pre-
 5
     complaint investigative file (e.g., communications with, testimony of, and materials received
 6
     from third parties). Notably, portions of their investigative files are the primary materials that
 7
     Plaintiffs indicated they would agree to produce. These materials should have been stored in
 8
     central locations and are typically produced at the outset of cases filed by these federal and state
 9
     agencies. It took Plaintiffs six months to produce them. On May 24, 2024, Plaintiffs produced
10
     over 24,000 pages that they represent substantially completes their production of these
11
     responsive documents, as well as productions from third parties. Plaintiffs refused to discuss
12
     what would or would not be produced from their investigative files prior to their May 24
13
     productions, and so Amazon will need to raise any issues in meet and confers after it completes
14
     its review of these productions. Additionally, because of the lack of clarity as to what would be
15
     included in the investigative files, the parties also agreed to discuss Plaintiffs’ responses to
16
     Amazon’s other requests after production of the investigative files. Amazon expects those
17
     additional requests to be the subject of subsequent meet and confers. Amazon does not request
18
     any Court action on this issue at this time.
19
            C.      THIRD PARTY DISCOVERY
20
            Both Amazon and Plaintiffs are actively engaged in seeking discovery from non-party
21
     witnesses. Since the February 8, 2024 scheduling conference, Amazon has served 8 non-party
22
     subpoenas seeking documents from competing retailers. Amazon is in the process of conferring
23
     with these retailers to reach agreement on the documents to be produced in response to
24

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 1 Amazon’s requests. Amazon expects to serve additional non-party document subpoenas on

 2 additional third parties, including additional retail competitors and market participants.

 3          Amazon has also conducted third-party discovery in the California action, and some of

 4 that discovery will also be used in this action. In instances in which Amazon serves subpoenas

 5 on third parties in both this action and the California action, Amazon is seeking to streamline

 6 and coordinate discovery by negotiating both subpoenas together. Amazon has also agreed to

 7 produce to Plaintiffs non-party discovery from the California action. Amazon has already

 8 produced more than 18,000 such non-party documents, and anticipates producing approximately

 9 223,000 additional non-party documents from the California action by June 6, 2024.

10          Plaintiffs have served or are in the process of serving 14 non-party document subpoenas,

11 including the 8 non-parties already served by Amazon. The subpoena topics identified by

12 Plaintiffs substantially overlap with the topics in Amazon’s subpoenas, and Amazon is

13 committed to working with Plaintiffs and the non-parties to engage in coordinated conferrals to

14 identify a mutually agreeable set of documents to be produced by the non-parties. Amazon and

15 Plaintiffs have further agreed to exchange written responses and objections received in response

16 to each subpoena so as to allow for further coordination as to non-party discovery.

17          With regard to third-party depositions, Amazon has informed Plaintiffs of 9 non-party

18 depositions that have been noticed in the California action so as to allow for a coordinated

19 deposition of these non-parties. Amazon understands that Plaintiffs intend to participate in 8 of

20 those depositions, and that those depositions will be rescheduled at a time that allows all parties

21 sufficient time to prepare and participate on a coordinated basis. (Two of those depositions are

22 scheduled to take place this month.) Amazon expects that most of the non-party depositions in

23 this case will occur in late 2024 and early 2025.

24

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 1          D.        AMAZON’S REPORT ON STATUS OF COORDINATION

 2          On November 28, 2023, Amazon proposed to Plaintiffs a draft protocol to allow for the

 3 coordinated depositions of Amazon witnesses and non-party witnesses among this case, the

 4 related California action, and the Frame-Wilson, De Coster, and Brown actions that are also

 5 pending before this Court. Plaintiffs did not provide feedback on the draft protocol until March

 6 25, 2024, and the Parties have since conferred (and are continuing to confer) on a coordination

 7 protocol. The draft protocol establishes procedures to ensure that the parties in each of the

 8 coordinated actions receive notice of and can participate in the depositions, contemplates

 9 additional time for coordinated depositions of Amazon witnesses, and establishes a framework

10 for coordinated non-party depositions. A similar coordination order has already been entered by

11 the court in the California action (a copy of the California order is attached as Exhibit A). The

12 terms of that California order have also been adopted in the related case Mbadiwe v.

13 Amazaon.com, Inc., Dkt. # 69, Case No. 1:22-cv-09542 (S.D.N.Y.) (Exhibit B). The California

14 protocol includes terms regarding time limits on depositions of Amazon witnesses, in summary:

15                  Seven hours for depositions of Amazon witnesses in which only the California
                     Attorney General participates. (Ex. A, ¶ 17);
16
                    Ten hours for depositions of Amazon witnesses in which more than one plaintiff
17                   participates. (Ex. A, ¶ 18); and

18                  Fourteen hours for up to eight depositions of Amazon witnesses who did not
                     testify in a pre-complaint investigational hearing. (Ex. A, ¶ 19).
19
            Amazon submits that the California coordination order implements a framework that is
20
     also appropriate for this case. Plaintiffs are limited to seven hours on the record and have
21
     indicated that intend to use this time in their depositions, and the additional time has been agreed
22
     to by the California Attorney General and ordered by the Court. Entry of an inconsistent
23
     protocol would hinder efforts to coordinate the California action with the related cases pending
24

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 1    Amazon’s Motion to        Plaintiffs’ Response                              June 7, 2024
      Seal (Dkt. # 220)         (Dkt. # 236)
 2    regarding Response        (5/23/2024)
      to Motion to Compel
 3    (Dkt # 223)
      (5/13/2024)
 4

 5
            Plaintiffs respectfully request that the Court prioritize ruling on the Plaintiffs’ Motion to
 6
     Enter an ESI Order, Dkt. #181, which will facilitate the parties’ progress in discovery. The
 7
     resolution of the parties’ disputes regarding the process for search term negotiations would help
 8
     the parties proceed forward in negotiations without unnecessary delays, and the resolution of the
 9
     parties’ dispute regarding privilege logging would likewise allow Plaintiffs to efficiently
10
     continue moving forward with their remaining document production.
11
            Amazon respectfully submits that the pending Motion to Dismiss, Dkt. #127, raises
12
     important issues and its resolution may promote efficiency by providing guidance to the parties
13
     on relevant case issues.
14

15
     Dated: June 3, 2024                           Respectfully submitted,
16
                                                   s/ Edward H. Takashima
17                                                 SUSAN A. MUSSER (DC Bar # 1531486)
                                                   EDWARD H. TAKASHIMA (DC Bar # 1001641)
18                                                 LEIGH BARNWELL (NY Reg. # 5440821)
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21                                                 Email: smusser@ftc.gov
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23                                                 Attorneys for Plaintiff Federal Trade Commission

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